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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


LUMINATI NETWORKS LTD.

               Plaintiff,

       v.                                            Case No.
NETNUT LTD.                                          JURY TRIAL DEMANDED
               Defendant.



                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, Luminati Networks Ltd. (“Luminati” or “Plaintiff”) brings this action under the

patent laws of the United States, Title 35 of the United States Code, and makes the following

allegations against NetNut Ltd. (“NetNut”):

                                        THE PARTIES


       1.      Plaintiff Luminati is an Israeli company having a principal place of business at 3

Hamahshev St., Netanya 42507, ISRAEL.

       2.      Upon information and belief, Defendant NetNut is an Israeli company located at

HaArba’a St 30, Tel Aviv, Israel.

                                JURISDICTION AND VENUE

       3.      This is an action for patent infringement under the patent laws of the United States

of America, 35 U.S.C. § 1, et seq.

       4.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331, 1338, and 1367.
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       5.         This Court has personal jurisdiction over NetNut because it, directly or through its

subsidiaries, divisions, groups, or distributors, has sufficient minimum contacts with this forum as

a result of business conducted within the State of Texas, and/or pursuant to Fed. R. Civ. P. 4(k)(2).

On information and belief, NetNut transacts substantial business in the State of Texas, directly or

through agents, including: (i) at least a portion of the infringement alleged herein, and (ii) regularly

does or solicits business in Texas, engages in other persistent courses of conduct, maintains

continuous and systematic contacts within this Judicial District, purposefully avails itself of the

privilege of doing business in Texas, and/or derives substantial revenue from services provided in

Texas. For example, Defendant advertises its proxy servers as located throughout the world,

including the United States and upon information and belief has customers and servers located in

Texas which implement at least a portion of the infringement herein.

       6.         Upon information and belief, Defendant’s servers that provide the functionality

performing steps resulting in infringement alleged herein are located throughout the United States,

including upon information and belief in Texas, such as the server providing as a non-limiting

example     the    IP   address    of   104.245.75.95    from    Amarillo    Wireless.       See    e.g.

https://www.stupidproxy.com/netnut/. Defendant touts the ability to select IP addresses by location

based on city in the United States. Upon information and belief, this includes cities in Texas,

where the data center servers are located.




https://netnut.io/faq




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https://www.stupidproxy.com/netnut/



        7.      This Court has general jurisdiction over Defendant due to its continuous and

systematic contacts with the State of Texas and this jurisdiction. Further, Defendant is subject to

this Court’s jurisdiction because Defendant committed patent infringement in the State of Texas

and this jurisdiction.

        8.      Following Brunette Machine Works v. Kockum Industries, Inc., 406 U.S. 706

1972), venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b) at least because,

upon information and belief, Defendant is a foreign entity.

                                 FACTUAL ALLEGATIONS

        9.      Derry Shribman and Ofer Vilenski are the sole inventors of a number of patents,

including U.S. Patent Nos. 10,484,511 (Exhibit A, “’511 Patent”) or “Asserted Patent”) issued on

November 19, 2019 and 10,637,968 (Exhibit B, “’968 Patent,” collectively “Asserted Patents”)

issued on April 28, 2020. The Asserted Patents claim priority to provisional application no.

61/249,624 filed on October 8, 2009.




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        10.     Luminati identifies its patents on its website at https://luminati.io/patent-

marking#system-and-method-for-streaming-content-from-multiple-servers.          Luminati is the

assignee of the Asserted Patents.

        11.     Luminati, formerly known as Hola Networks Ltd. (“Hola”), provides multiple

proxy services including a data center proxy service and a residential proxy service.

        12.     Upon information and belief, “NetNut” is the brand name for Defendant’s proxy

business generally, including but not limited to what Defendant refers to as its residential proxy

network (“Proxy Service”), which relies upon static residential IP addresses made available

through Defendant’s servers:




https://netnut.io/#

        13.     Upon information and belief, Defendant’s Proxy Service is a web data extraction

product and service under the NetNut brand. https://netnut.io/# (Exhibit C). Defendant touts their

Proxy Service as offering “premium static IPs” through “one-hop ISP connectively with no

dependency on an end user,” meaning upon information and belief that Defendant’s servers have


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access to a list of proxy IP addresses allowing its servers to use these addresses. Id. Defendant

further touts that all its “servers are located on major internet routes or at ISP network connectivity

points that are completely controlled by NetNut.” Id. Defendant further touts that its Proxy Service

customers can select IP addresses located in the United States as well as specific cities in the United

States. https://netnut.io/faq (Exhibit D). Upon information and belief, the Proxy Service is used

to access content such as webpages, audio and video content over the Internet, wherein that content

is stored on a webserver and identified by a Uniform Resource Locator (URL).




https://netnut.io/#




https://netnut.io/#




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https://netnut.io/#




https://netnut.io/#




https://netnut.io/faq




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https://netnut.io/faq




https://www.sec.gov/Archives/edgar/data/1725332/000121390020008198/f20f2019_safetgroup.

htm

Upon information and belief, the Proxy Service includes servers located in Texas.




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        14.     Defendant provides a Proxy Service through the Accused Instrumentalities

allowing a NetNut service customer to utilize servers in fetching content over the Internet.

https://netnut.io/#. Upon information and belief, Defendant’s code installed on the servers cause

them to perform the steps of at least claims 1, 14, 17, 20, 21, 22, 25, 27, 28, 29 and 30 of the ’511

Patent. This code is under the control of Defendant, either directly or via Defendant’s contractual

relationship with its partners. As this code is under the control of Defendant, Defendant causes

each of these steps to also be performed. In addition, given Defendant’s contractual relationship

with its customers, the customers utilization of the Accused Instrumentalities also causes each of

the claimed steps to be performed. Upon information and belief, client devices, including those

controlled by Defendant’s customers, can use the Accused Instrumentalities to fetch content over

the Internet by sending a query to have a server of the Accused Instrumentalities perform the

claimed methods. Upon information and belief, this query can comprise a URL corresponding with

a webpage, audio and/or video content stored on a web server.




https://netnut.io/#




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https://netnut.io/#

        15.     Upon information and belief, the NetNut Proxy Service network of the Accused

Instrumentalities is based upon a large number of servers located around the World, including in

the United States. See e.g. https://netnut.io/#. Upon information and belief, the Proxy Service

servers store a group of IP addresses as shown below. Upon information and belief, upon receiving

a request for content from a client device, a server of the Accused Instrumentalities can select an

IP address from the group of addresses for sending the request to a web server.




https://proxyway.com/reviews/netnut-proxies




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 https://netnut.io/faq




 https://netnut.io/faq

         16.     Upon information and belief, as shown above, in fetching content by the client

 device, the NetNut server performs a method that comprises the steps of (a) receiving, from the

 client device, a content identifier; (b) selecting, in response to the receiving of the content identifier

 from the first client device, an IP address from a group; (c) sending, in response to the selecting,

 the content identifier to the web server using the selected IP address; (d) receiving, in response to

 the sending, the content from a web server; and (e) sending the received content to the client

 device. The content identifier comprises a Uniform Resource Locator (URL) and the content

 comprises a web-page, audio or video content.

         17.     Upon information and belief, as discussed above, the selecting by the server of the

 Accused Instrumentalities may be done by a criterion, such as, as non-limiting examples, IP usage,

 location of the IP address, or the intended target web server.




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 https://netnut.io/faq

         18.     Upon information and belief, the client device may be addressed by an IP address,

 which can be stored on the server, as shown in the below example regarding whitelisting.




 https://netnut.io/faq

         19.     Upon information and belief, the server of the Accused Instrumentalities is a

 Transmission Control Protocol/Internet Protocol (TCP/IP) server that communicates of the

 Internet with client devices based on TCP/IP protocol. Upon information and belief, this server

 stores, operates or uses a server operating system and uses a software application including

 instructions to carry out the steps for fetching content as discussed above.

         20.     Upon information and belief, the web server is a Hypertext Transfer Protocol

 (HTTP) server responding to HTTP requests and addressed in the Internet using a web server IP

 address.




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 https://netnut.io/faq

         21.     Defendant provides a Proxy Service through the Accused Instrumentalities

 allowing an NetNut service customer to utilize the Accused Instrumentalities in fetching content

 over the Internet. Upon information and belief, Defendant’s code installed on its customers’

 devices causes these devices to perform the steps of at least claims 1, 11, 12, 15, 17, 18, 26, 27

 and 28 of the ’968 Patent. This code is under the control of Defendant, either directly or via

 Defendant’s contractual relationship with its customers. As this code is under the control of

 Defendant, Defendant causes each of these steps to also be performed. In addition, given

 Defendant’s contractual relationship with its customers, the customers utilization of the Accused

 Instrumentalities also causes each of the claimed steps to be performed. Upon information and

 belief, client devices, including those controlled by Defendant’s customers, can use the Accused

 Instrumentalities to fetch content over the Internet by sending a query to a server of the Accused

 Instrumentalities. As discussed above, upon information and belief, this query can comprise a URL

 corresponding with a webpage, audio and/or video content stored on a web server.

         22.     Upon information and belief, as shown above, the client device that fetches content

 using the NetNut Proxy service comprises an Hypertext Transfer Protocol (HTTP) or Hypertext

 Transfer Protocol Secure (HTTPS) client for use with a first web server that is a HTTP or HTTPS

 server that respectively responds to HTTP or HTTPS requests and stores a first content identified

 by a first content identifier. Upon information and belief, the client device fetches the content

 from the first web server using a second server distinct from the first web server and identified in




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 the Internet by a second IP address, and for use with a list of IP addresses. As addressed above,

 upon information and belief, servers of the Accused Instrumentalities store a list of IP addresses.

 Upon information and belief, including as described above, the NetNut application stored on the

 client device causes the client device to perform a method that comprises (a) identifying, by the

 requesting client device, an HTTP or HTTPS request for the first content; (b) selecting, by the

 requesting client device, an IP address from the list; (c) sending, by the requesting client device,

 to the second server using the second IP address over the Internet in response to the identifying

 and the selecting, the first content identifier and the selected IP address; and (d) receiving, by the

 requesting client device, over the Internet in response to the sending, from the second server using

 the selected IP address, the first content. Specifically, as non-limiting examples, the client device

 may select IP addresses by geographic location or prior use in the case of sticky IPs.

         23.     Upon information and belief, as discussed above, the selecting by the client device

 of the Accused Instrumentalities may be based for example on the location of the IP address, or

 prior use of the IP address in the case of sticky IPs. Upon information and belief, as discussed

 above, each of the IP addresses in the list is associated with a geographical location and the

 selecting can be based on geographical selection.




 https://netnut.io/faq




 https://netnut.io/faq



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 https://netnut.io/faq

         24.     Upon information and belief, the client device includes a web/Internet browser

 application or an email application and the NetNut software installed on the client device includes

 a driver that intercepts the request for the first content from the web browser application or email

 application.




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 https://netnut.io/

         25.     Upon information and belief, the client device is identified by a Media Access

 Control (MAC) address or a hostname and sends a message to the second server comprising the

 client device’s IP address, MAC address, or hostname.




 https://netnut.io/faq



         26.     Jeffy Binhas and Yakub Kalvo were employed by Hola Networks Ltd., now known

 as Luminati, as sales managers. As employees, Mr. Binhas and Mr. Kalvo (“Former Employees”)

 entered into a Personal Employment Agreement (“Employment Agreement”) with Plaintiff on


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 March 13, 2017 and March 14, 2017, respectively. The terms of the Employment Agreement

 include a confidentiality provision obligating the employee to keep in confidence Luminati’s

 proprietary information.    The Employment Agreement also includes a non-compete clause

 prohibiting the employee from accepting employment with a company offering competing services

 within twelve months of the termination of employment with Luminati. As employees, Mr. Binhas

 and Mr. Kalvo had access to Luminati confidential know-how and trade secrets, including client

 lists, client records, client data usage, accounts receivable documents, business plans, marketing

 research, and related work product.

        27.     In September 2017, Hola Networks Ltd. underwent a corporate reorganization

 resulting in (a) the renaming of Hola Networks Ltd., which is now known as Luminati Networks

 Ltd, (b) the creation of company Hola Newco Ltd. (“Hola Newco”), subsequently renamed as

 WebSpark Ltd. (“WebSpark”); and (c) the creation of HolaVPN Ltd.                  Following the

 reorganization, Messrs. Kalvo and Binhas were employed by Hola Newco. Hola Newco provided

 Mr. Kalvo with a notice of termination on January 30, 2018 followed by his dismissal on February

 15, 2018. Upon information and belief, Mr. Kalvo was hired by Defendant to sell Defendant’s

 competing proxy service knowing about Mr. Kalvo’s previous employment by Hola Networks

 Ltd., now known as Luminati, and benefiting from Mr. Kalvo’s access to Luminati’s trade secrets.

 For example, upon information and belief, Mr. Kalvo began contacting Plaintiff’s customers

 within months of his formal dismissal in order to persuade them to purchase competing proxy

 services offered by Defendant. Luminati discovered these activities on behalf of NetNut less than

 three years before the filing of this complaint.

        28.     Mr. Binhas terminated his employment with Hola Newco on August 13, 2018.

 Upon information and belief, Mr. Binhas was hired by Defendant to sell Defendant’s competing




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 proxy service knowing about Mr. Binhas’s previous employment by Hola Networks Ltd., now

 known as Luminati, and benefiting from Mr. Binhas’s access to Luminati’s trade secrets. For

 example, upon information and belief, Mr. Binhas began contacting Plaintiff’s customers within

 months of his formal termination in order to persuade them to purchase competing proxy services

 offered by Defendant. Luminati discovered these activities on behalf of NetNut less than three

 years before the filing of this complaint.

        29.     Upon information and belief, Defendant hired the Former Employees, knowing

 them to be former employees of Luminati having access to Luminati’s trade secrets including

 Luminati’s customers list, which NetNut used to promote its own competing proxy services to the

 detriment of Luminati. Upon information and belief, Defendant used this confidential information

 to promote its competing proxy business despite being aware that the Former Employees were

 formerly employed by Luminati and had access to Luminati trade secrets. Upon information and

 belief, Defendant was aware that the Former Employees were subject to Employment Agreements

 prohibiting them from competing with Luminati and using Luminati’s trade secrets at least as early

 as Luminati’s subsequent suits against Mr. Kalvo and Mr. Binhas filed on January 2, 2019.

                                            COUNT I
                                  (Infringement of the ’511 Patent)

        30.     Luminati repeats and re-alleges the allegations contained in paragraphs 1-29 of this

 Complaint as if fully set forth herein.

        31.     The ’511 Patent entitled “System Providing Faster and More Efficient Data

 Communication” was duly and legally issued by the U.S. Patent and Trademark Office on

 November 19, 2019, from Application No. 16/278,109 filed on February 17, 2019, a continuation

 of Application No. 15/957,950, which is a continuation of application No. 14/025,109, which is a

 divisional of application No. 12/836,059, all of which claim priority to provisional application



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 61/249,624 filed on October 8, 2009. A true and accurate copy of the ’511 Patent is attached hereto

 as Exhibit A.

        32.      Each and every claim of the ’511 Patent is valid and enforceable, and each enjoys

 a statutory presumption of validity under 35 U.S.C. § 282.

        33.      All rights, title, and interest in the ’511 Patent have been assigned to Luminati, who

 is the sole owner of the ’511 Patent and possesses the right to past damages.

        34.      Independent Claim 1 of the ’511 Patent recites:

        A method for fetching, by a first client device, a first content identified by a first content

 identifier and stored in a web server, for use with a first server that stores a group of IP addresses,

 the method by the first server comprising:

        receiving, from the first client device, the first content identifier;

        selecting, in response to the receiving of the first content identifier from the first client

 device, an IP address from the group;

        sending, in response to the selecting, the first content identifier to the web server using the

 selected IP address;

        receiving, in response to the sending, the first content from the web server; and

        sending the received first content to the first client device, wherein the first content

 comprises a web-page, an audio, or a video content, and wherein the first content identifier

 comprises a Uniform Resource Locator (URL).

        35.      As described above, upon information and belief, the Accused Instrumentalities

 comprise a server (“first server”), which receives from a client device (“first client device”) a URL

 (“first content identifier”) for content comprising a web-page, audio or video content (“first

 content”) stored on a web server. Upon information and belief, the server selects an IP address




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 from a group of IP addresses stored on the server in response to receiving the first content identifier

 and sends the URL to the web server using the selected IP address. Upon information and belief,

 the server receives the first content from the web server in response to sending the URL and sends

 the received first content to the first client device.

         36.     The ’511 Patent includes a number of dependent claims. In addition to practicing

 the steps of independent claim 1, upon information and belief as discussed above, Defendant and

 others using Defendant’s Accused Instrumentalities also practice the steps of at least dependent

 claims 14, 17, 20, 21, 22, 25, 27, 28, 29, and 30.

         37.     Defendant has had actual notice of the ’511 Patent since at least the filing of this

 Complaint and know at least from this Complaint that implementation of the Accused

 Instrumentalities using servers in the United States infringe at least claims 1, 14, 17, 20, 21, 22,

 25, 27, 28, 29, and 30 of the ’511 Patent.

         38.     Upon information and belief Defendant sold, offered to sell, used, tested, and

 imported and continue to sell, offer to sell, use, test, and import the Accused Instrumentalities into

 the United States. Defendant imports its software, which is implemented on servers located in the

 United States. Defendant’s software in the Accused Instrumentalities implements the steps of at

 least the above claims of the Asserted Patent and is not used for other commercial services or

 products.     Defendant provides the Proxy Service of the Accused Instrumentalities to their

 customers with the knowledge and intent that the customers’ implementation of the service in the

 U.S. would infringe the ’511 Patent.

         39.     Defendant has been and is now infringing at least directly, indirectly and/or

 contributorily, one or more claims including at least claims 1, 14, 17, 20, 21, 22, 25, 27, 28, 29,

 and 30 of the ’511 Patent, both literally and/or under the doctrine of equivalents, by implementing




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 the Accused Instrumentalities using servers located in the United States without authority and/or

 license from Luminati, and Defendant is liable to Luminati under 35 U.S.C. § 271 et seq., including

 but not limited to under Sections 271(a), (b), (c) and/or (g). On information and belief, at least

 since the service of this Complaint, Defendant has been aware of the Asserted Patents yet has

 continued to infringe and cause its servers in the United States under Defendant’s control to

 infringe claims of the Asserted Patents and have induced infringement. On further information

 and belief, Defendant has developed, used, offered to sell and/or sold within the United States and

 imported into the United States a component of a patented machine, manufacture, combination or

 composition, or a material or apparatus for use in practicing a patented process, constituting a

 material part of the invention, knowing the same to be especially made or especially adapted for

 use in an infringement of such patent, and not a staple article or commodity of commerce suitable

 for substantial noninfringing use. On further information and belief, Defendant also imports and

 sells as well as causes others to use within the United States a product which is made by a process

 patented in the United States whereby the importation, offer to sell, sale, and/or use of the product

 occurs during the term of such process patent. Such products may include for example, the set of

 results sent to customers in the United States as created and assembled by the patented methods of

 the Asserted Patents.

        40.     As a result of Defendant’s infringement of the ’511 Patent, Luminati has suffered

 and continues to suffer damages. Thus, Luminati is entitled to recover from Defendant the

 damages Luminati sustained as a result of Defendant’s wrongful and infringing acts in an amount

 no less than its lost profits and/or a reasonable royalty, together with interest and costs fixed by

 this Court together with increased damages up to three times under 35 U.S.C. § 284.




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         41.    Luminati has suffered damage because of the infringing activities of Defendant, its

 officers, agents, servants, employees, associates, partners, and other persons who are in active

 concert or participation therewith, and Luminati will continue to suffer irreparable harm for which

 there is no adequate remedy at law unless Defendant’s infringing activities is preliminarily and

 permanently enjoined by this Court. Luminati practices the Asserted Patents. Non-exclusive

 examples of damage incurred by Luminati as a result of Defendant’s infringement includes, but is

 not limited to, lost profits and/or a reasonable royalty, loss of market share, lowered prices and the

 inability of Luminati to obtain the revenues and profits it would have been able to obtain but for

 the infringement, lost sales in other services when customers did not purchase Data Center proxy

 services or static residential proxy services from Luminati as a result of the infringement, and loss

 of convoyed sales of other related services that Luminati would have sold but for the infringement.

         42.    Defendant’s infringement of the ’511 Patent is and continues to be deliberate and

 willful because Defendant was and is on notice of the ’511 Patent at least as early as this

 Complaint, yet Defendant continues to infringe the ’511 Patent. This case should be deemed an

 exceptional case under 35 U.S.C. § 285, and if so, Luminati is entitled to recover its attorneys’

 fees.

                                            COUNT II
                                  (Infringement of the ’968 Patent)

         43.    Luminati repeats and re-alleges the allegations contained in paragraphs 1-42 of this

 Complaint as if fully set forth herein.

         44.    The ’968 Patent entitled “System Providing Faster and More Efficient Data

 Communication” was duly and legally issued by the U.S. Patent and Trademark Office on April

 28, 2020, from Application No. 16/396,696 filed on April 28, 2019, a continuation of Application

 No. 15/957,942, which is a continuation of application No. 14/025,109, which is a divisional of



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 application No. 12/836,059, all of which claim priority to provisional application 61/249,624 filed

 on October 8, 2009. A true and accurate copy of the ’968 Patent is attached hereto as Exhibit B.

         45.     Each and every claim of the ’968 Patent is valid and enforceable, and each enjoys

 a statutory presumption of validity under 35 U.S.C. § 282.

         46.     All rights, title, and interest in the ’968 Patent have been assigned to Luminati, who

 is the sole owner of the ’968 Patent and possesses the right to past damages.

         47.     Independent Claim 1 of the ’968 Patent recites:

         A method for use with a requesting client device that comprises an Hypertext Transfer

 Protocol (HTTP) or Hypertext Transfer Protocol Secure (HTTPS) client, for use with a first web

 server that is a HTTP or HTTPS server that respectively responds to HTTP or HTTPS requests

 and stores a first content identified by a first content identifier, for use with a second server distinct

 from the first web server and identified in the Internet by a second IP address, and for use with a

 list of IP addresses, the method comprising:

         identifying, by the requesting client device, an HTTP or HTTPS request for the first

 content;

         selecting, by the requesting client device, an IP address from the list;

         sending, by the requesting client device, to the second server using the second IP address

 over the Internet in response to the identifying and the selecting, the first content identifier and the

 selected IP address; and

         receiving, by the requesting client device, over the Internet in response to the sending, from

 the second server using the selected IP address, the first content.

         48.     As described above, upon information and belief, the Accused Instrumentalities

 comprise a Hypertext Transfer Protocol (HTTP) or Hypertext Transfer Protocol Secure (HTTPS)




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 client user device (“requesting client device”), which identifies an HTTP or HTTPS request for

 first content stored on a web server, selects an IP address from a list of IP addresses, sends a first

 content identifier and selected IP address to the NetNut server (“second server”) over the Internet,

 and receives in response the first content from the second server. for content comprising a web-

 page, audio or video content (“first content”) stored on a web server.

        49.     The ’968 Patent includes a number of dependent claims. In addition to practicing

 the steps of independent claim 1, upon information and belief as discussed above, Defendant and

 others using Defendant’s Accused Instrumentalities also practice the steps of at least dependent

 claims 11, 12, 15, 17, 18, 26, 27, and 28.

        50.     Defendant has had actual notice of the ’968 Patent since at least the filing of this

 Complaint and know at least from this Complaint that implementation of the Accused

 Instrumentalities using servers in the United States infringe at least claims 1, 11, 12, 15, 17, 18,

 26, 27, and 28 of the ’968 Patent.

        51.     Upon information and belief Defendant sold, offered to sell, used, tested, and

 imported and continue to sell, offer to sell, use, test, and import the Accused Instrumentalities into

 the United States. Defendant imports its software, which is implemented on user client devices

 located in the United States. Defendant’s software in the Accused Instrumentalities implements

 the steps of at least the above claims of the Asserted Patent and is not used for other commercial

 services or products. Defendant provides the Proxy Service of the Accused Instrumentalities to

 their customers with the knowledge and intent that the customers’ implementation of the service

 in the U.S. would infringe the ’968 Patent.

        52.     Defendant has been and is now infringing at least directly, indirectly and/or

 contributorily, one or more claims including at least claims 1, 11, 12, 15, 17, 18, 26, 27, and 28 of




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 the ’968 Patent, both literally and/or under the doctrine of equivalents, by implementing the

 Accused Instrumentalities using user client devices located in the United States without authority

 and/or license from Luminati, and Defendant is liable to Luminati under 35 U.S.C. § 271 et seq.,

 including but not limited to under Sections 271(a), (b), (c) and/or (g). On information and belief,

 at least since the service of this Complaint, Defendant has been aware of the Asserted Patents yet

 has continued to infringe and cause its user client devices in the United States under Defendant’s

 control to infringe claims of the Asserted Patents and have induced infringement. On further

 information and belief, Defendant has developed, used, offered to sell and/or sold within the

 United States and imported into the United States a component of a patented machine,

 manufacture, combination or composition, or a material or apparatus for use in practicing a

 patented process, constituting a material part of the invention, knowing the same to be especially

 made or especially adapted for use in an infringement of such patent, and not a staple article or

 commodity of commerce suitable for substantial noninfringing use. On further information and

 belief, Defendant also imports and sells as well as causes others to use within the United States a

 product which is made by a process patented in the United States whereby the importation, offer

 to sell, sale, and/or use of the product occurs during the term of such process patent. Such products

 may include for example, the set of results sent to customers in the United States as created and

 assembled by the patented methods of the Asserted Patents.

        53.     As a result of Defendant’s infringement of the ’968 Patent, Luminati has suffered

 and continues to suffer damages. Thus, Luminati is entitled to recover from Defendant the

 damages Luminati sustained as a result of Defendant’s wrongful and infringing acts in an amount

 no less than its lost profits and/or a reasonable royalty, together with interest and costs fixed by

 this Court together with increased damages up to three times under 35 U.S.C. § 284.




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         54.    Luminati has suffered damage because of the infringing activities of Defendant, its

 officers, agents, servants, employees, associates, partners, and other persons who are in active

 concert or participation therewith, and Luminati will continue to suffer irreparable harm for which

 there is no adequate remedy at law unless Defendant’s infringing activities is preliminarily and

 permanently enjoined by this Court. Luminati practices the Asserted Patents. Non-exclusive

 examples of damage incurred by Luminati as a result of Defendant’s infringement includes, but is

 not limited to, lost profits and/or a reasonable royalty, loss of market share, lowered prices and the

 inability of Luminati to obtain the revenues and profits it would have been able to obtain but for

 the infringement, lost sales in other services when customers did not purchase Data Center proxy

 services or static residential proxy services from Luminati as a result of the infringement, and loss

 of convoyed sales of other related services that Luminati would have sold but for the infringement.

         55.    Defendant’s infringement of the ’968 Patent is and continues to be deliberate and

 willful because Defendant was and is on notice of the ’968 Patent at least as early as this

 Complaint, yet Defendant continues to infringe the ’968 Patent. This case should be deemed an

 exceptional case under 35 U.S.C. § 285, and if so, Luminati is entitled to recover its attorneys’

 fees.

                                          COUNT III
          (Misappropriation of Trade Secret Under Federal Defense of Trade Secret Act)

         56.    Luminati repeats and re-alleges the allegations contained in paragraphs 1-55 of this

 Complaint as if fully set forth herein.

         57.    Luminati takes reasonable measures to protect the confidentiality of valuable trade

 secrets related to its proxy service, including the requirement that its employees protect the

 confidentiality of Luminati trade secrets. This non-public information has actual independent

 economic value derived from Luminati’s experience in the residential proxy service field.



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        58.     Luminati’s proxy service is intended for use in interstate or foreign commerce.

        59.     Upon information and belief, Defendant misappropriated Luminati’s trade secrets

 by hiring Luminati’s former employees, knowing that each of them had access to Luminati’s trade

 secrets related to Luminati’s proxy services as well as a duty to preserve the confidentiality of

 Luminati’s trade secrets, for the purpose of competing with Luminati’s proxy services.

        60.     Luminati has suffered damages in Texas and the United States and Defendant has

 been unjustly enriched as, upon information and belief, Luminati lost business to Defendant’s

 competing NetNut service as a result of Defendant’s misappropriation of Luminati’s trade secrets.

        61.     Defendant’s misappropriation of Luminati trade secrets was willful and malicious.

        62.     Luminati is entitled to recover the actual loss suffered by Luminati, any additional

 damages to account for Defendant’s unjust enrichment, and exemplary damages as a result of

 Defendant’s misappropriation of its trade secrets under 18 U.S.C. § 1836(b)(3)(B) and (C).

                                           COUNT IV
                     (Misappropriation of Trade Secret under Texas State Law)

        63.     Luminati repeats and re-alleges the allegations contained in paragraphs 1-62 of this

 Complaint as if fully set forth herein.

        64.     Luminati takes reasonable measures to protect the confidentiality of valuable trade

 secrets related to its proxy service, including the requirement that its employees protect the

 confidentiality of Luminati trade secrets. This non-public information has actual independent

 economic value derived from Luminati’s experience in the residential proxy service field.

        65.     Upon information and belief, Defendant misappropriated Luminati’s trade secrets

 by hiring Luminati’s former employees, knowing that each of them had access to Luminati’s trade

 secrets related to Luminati’s proxy services as well as a duty to preserve the confidentiality of

 Luminati’s trade secrets under their employment agreement with Luminati.



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        66.      Luminati has not provided authorization for Defendant to use its trade secrets,

 however, upon information and belief Defendant has used Luminati’s trade secrets to compete

 with Luminati in the proxy services business.

        67.      Luminati has suffered damages in Texas and the United States and Defendant has

 been unjustly enriched as, upon information and belief, Luminati lost business to Defendant’s

 competing NetNut service as a result of Defendant’s misappropriation of Luminati’s trade secrets.

        68.      Defendant’s misappropriation of Luminati trade secrets was willful and malicious.

        69.      Luminati is entitled to recover the actual loss suffered by Luminati, any additional

 damages to account for Defendant’s unjust enrichment, and exemplary damages as a result of

 Defendant’s misappropriation of its trade secrets under 18 U.S.C. § 1836(b)(3)(B) and (C).



                                     PRAYER FOR RELIEF



           WHEREFORE, Plaintiff Luminati respectfully requests that this Court enter:


        A. A judgment in favor of Luminati that Defendant has and is infringing the Asserted

              Patents;

        B. A judgment declaring Defendant’s infringement to be willful;

        C. A judgment declaring that this case is exceptional within the meaning of 35 U.S.C. §

              285;

        D. A permanent injunction enjoining Defendant, its officers, directors, agents, servants,

              employees, associates, partners, and other persons who are in active concert or

              participation with Defendant including the officers, directors, agents, servants,




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             employees and associates of Defendant’s partners, from infringing the Asserted Patents

             and/or such other equitable relief the Court determines is warranted in this case;

         E. A judgment and order requiring the Defendant to pay to Luminati its damages,

             enhanced damages, costs, expenses, prejudgment and post-judgment interest, and

             attorneys’ fees, if applicable, for the Defendant’s infringement of the Asserted Patents

             as provided under 35 U.S.C. §284 and/or §285, and an accounting of ongoing post-

             judgment infringement;

         F. A judgment in favor of Luminati that the Defendant misappropriated Luminati’s trade

             secrets under 18 U.S.C. § 1836(b);

         G. A judgment and order for damages under 18 U.S.C. § 1836(b)(3)(B);

         H. A judgment and order for exemplary damages under 18 U.S.C. § 1836(b)(3)(C); and

         I. Any and all other relief, at law or in equity that this Court deems just or proper.



                                     DEMAND FOR JURY TRIAL

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Luminati hereby demands

 a trial by jury of all issues so triable.



  Dated: June 11, 2020                             Respectfully submitted,

                                                   By: /s/ Korula T. Cherian
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